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                   UNITED STATES DISTRICT COURT
                     DISTRICT OF MASSACHUSETTS


CENGIZ YILDIRIM                       )
                                      )
          Plaintiff,                  )
                                      )      CIVIL ACTION NO.
     v.                               )      16-11780-DPW
                                      )
DOUGLAS DEMOURA                       )
                                      )
          Defendant.                  )


                        MEMORANDUM AND ORDER
                          November 20, 2017

     Petitioner Cengiz Yildirim seeks a writ of habeas corpus

challenging his state court drug convictions.       The Respondent,

his prison custodian, has moved for judgment on the pleadings

pursuant to Fed. R. Civ. P. 12(c).      Finding nothing contrary to

established federal law in the state court convictions, I will

grant Respondent’s motion.

                             I. BACKGROUND

A.   Charged Conduct

     In June 2010, as part of an investigation conducted by the

Massachusetts State Police Narcotics Unit for Suffolk County,

Trooper Hollis Crowley, in an undercover capacity, was assigned

to purchase narcotics from Petitioner.       In the course of

investigation, the unit had received a phone number of interest

believed to be Yildirim’s number by which Trooper Crowley could

contact him.   Trooper Crowley contacted Yildirim on four
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separate occasions — June 8, 2010, June 17, 2010, June 29, 2010,

and June 30, 2010 — for the purpose of purchasing cocaine.                                           When

speaking with Yildirim on the phone, she would request a

specific amount of cocaine and subsequently would meet him to

make the exchange.                                        On June 8, she purchased $100.00 worth of

cocaine; on both June 17 and June 29, she purchased $150.00

worth of cocaine, and on June 30, she purchased $1,100.00 worth

of cocaine.

              After the final exchange on June 30th, state troopers who

had been providing surveillance for the exchange moved in and

arrested Yildirim.                                        The troopers, who had earlier secured a

search warrant to search Yildirim’s apartment, escorted Yildirim

and his girlfriend, Erin Darden, to the apartment and executed

the search warrant.                                            The evidence seized was removed from the

apartment.

              Once the search was complete, Trooper Scott Holland

interviewed Yildirim in the apartment and recorded the

conversation.                               Yildirim apparently1 told the troopers that the

responsibility was all his and that Darden had nothing to do



                                                            
1  The trial transcript notes that portions of the recording were
played for the jury, but only briefly summarizes the content of
what Yildirim said through the Commonwealth’s witnesses.
Neither a full transcript of the recording nor the recording
itself was provided in the record before me. Consequently, the
recitation above is a paraphrase that would appear to be
uncontested.
                                                                          2
 
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with his transactions.

        On August 10, 2010, a grand jury indicted Yildirim on two

counts of trafficking in cocaine, in violation of MASS. GEN. LAWS

ch. 94C § 32E(b), three counts of distribution of cocaine,

subsequent offense, in violation of MASS. GEN. LAWS ch. 94C, §

32A(b), and four counts of drug violations near a school, in

violation of MASS. GEN. LAWS ch. 94C, § 32J.        [SA 145]

B.      Trial

        Yildirim was tried by a jury from June 28, 2011 to June 30,

2011.    At trial, the Commonwealth offered the testimony of

Trooper Crowley, in which she described her interactions with

Yildirim and the four purchases she made; the testimony of other

troopers involved in the investigation, including Trooper

Holland who testified regarding the search of Yildirim’s

apartment and the statement Yildirim gave to the troopers; the

testimony of two chemists; and the testimony of a Boston Police

Detective.      The Commonwealth also introduced the physical

evidence obtained during the investigation, including the

cocaine seized in Yildirim’s apartment.

        During defense’s cross-examination of Trooper Crowley on

the morning of June 29, 2011, Yildirim’s trial counsel asked her

if she knew an individual named David Ring, to which she

answered affirmatively.       When defense counsel asked whether Ring

was a person involved in narcotics, the Commonwealth requested a

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sidebar discussion.                                            At sidebar, defense counsel asserted that

Ring provided Trooper Crowley with Yildirim’s name and suggested

that Ring’s identity and relationship to the investigation would

be relevant to the defense’s case.                                            The Commonwealth requested a

brief break to research the issue further.

              After the break, the Commonwealth continued to object to

defense counsel’s inquiry about Ring, prompting the judge to ask

defense counsel to make an offer of proof.                                           Defense counsel

replied that “I think the evidence is going to show that David

Ring gave this trooper my client’s phone number and set up

contact with this person, and whether she knows or not I’ll find

out pretty soon.                                     David Ring then gave my client a whole bunch

of drugs which then are found in his house when he’s charged.”

Subsequently, defense counsel suggested that Yildirim was going

to testify that Ring put the drugs in his house.2

              The judge ruled that defense counsel could ask Trooper

Crowley whether she received the petitioner’s number from Ring,

whether she had personal knowledge of how drugs ended up in

Yildirim’s apartment, and whether she had any personal knowledge

of Ring’s involvement.                                           Defense counsel objected to the judge’s

ruling but nevertheless complied with it.




                                                            
2   Yildirim ultimately did not testify.
                                                                          4
 
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     When cross-examination resumed, Trooper Crowley again

testified that as an undercover drug detective, she knew Ring in

her professional capacity.    After a series of questions

attempting to explore whether Ring was acting as an informant

for the state police, questions to which the Commonwealth

objected, the judge ruled that defense counsel could not inquire

into Ring’s involvement with the state police beyond the

investigation into Yildirim.

     After the lunch recess on June 29, 2011, the judge called

counsel up to sidebar to disclose something the clerk observed

during Trooper Crowley’s testimony.      During the testimony, the

clerk had passed a note to the judge saying that the clerk saw

an attorney in the back of the courtroom nodding yes and no as

Trooper Crowley testified, in particular during the testimony

about Ring.   The judge stated that he “personally didn’t observe

it” and that after the clerk passed him the note he continued

watching the attorney but the attorney “made no such motions

after [he] started to observe him.”      The judge stated that he

believed the nodding was a reaction to his evidentiary rulings

limiting the scope of cross-examination, which the judge

characterized as “not great, but it’s a lot better than

responding to the testimony.”

     The judge further noted that it was up to defense counsel

“if there’s any relief you want or if any discussion needs to be

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had” and gave defense counsel until the end of the day “if

there’s anything you want to do about that.”       Defense counsel

stated that he would think it over, but in the end never lodged

any motions or objections related to the incident.

     Throughout the rest of the trial, defense counsel was

afforded the opportunity to cross-examine the Commonwealth’s

witnesses about Ring, subject to the same restrictions placed on

Trooper Crowley’s cross-examination.      In the afternoon on June

29, 2011, defense counsel asked Trooper Scott Cooper about Ring.

Trooper Cooper testified that Ring talked to Trooper Crowley

about illicit dealing in drugs, that Ring gave Trooper Cooper

Yildirim’s phone number, and that Ring introduced Trooper

Crowley to Yildirim.   Then, on June 30, 2011, defense counsel

cross-examined Trooper Holland and asked him about Ring.

Trooper Holland testified that he had heard of the name David

Ring and had heard he was involved in Yildirim’s case.         When

asked whether Ring was an informant, Trooper Holland replied

“Yeah, he’s a rat.”

     Yildirim was convicted of one count of trafficking in

fourteen grams or more of cocaine, one count of trafficking in

200 grams or more of cocaine, and three counts of distribution




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of cocaine.3                            He was sentenced to fifteen years to fifteen years

and one day in state prison.

C.            Post-Trial Procedural History

              Yildirim filed a timely appeal of his convictions to the

Massachusetts Appeals Court.                                    While his appeal was pending, he

filed a motion for post-conviction discovery as to the 200 gram

trafficking count on the relationship between David Ring and the

investigative and prosecution team.                                    On February 3, 2014, the

judge who presided over his trial denied Yildirim’s motion for

post-conviction discovery, finding that Ring’s identity was not

newly discovered because Yildirim knew of Ring before the trial.                                      

              On November 20, 2015, the Appeals Court upheld all of

Yildirim’s convictions and affirmed the denial of the motion for

post-conviction discovery.                                     Commonwealth v. Yildirim, 40 N.E.3d

1057, 2015 WL 7356554, at *4 (Mass. App. Ct. 2015).                                    The Appeals

Court specifically considered and rejected the three theories of

relief Yildirim presents in his current petition: that the judge

impermissibly restricted his ability to cross-examine

prosecution witnesses regarding Ring, that the judge failed to

investigate, sua sponte, the effect, if any, of the attorney’s

gestures during Trooper Crowley’s testimony, and that his



                                                            
3 The Commonwealth filed a nolle prosequi on the four related
school zone charges and on the subsequent offense portions of
the indictments charging distribution of cocaine.
                                                                   7
 
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attorney was ineffective for failing to request an investigation

into the effect of the attorney’s gestures.

     As to the first issue of the judge’s restrictions on cross-

examination, the court stated that although Yildirim had a right

under the Sixth Amendment and art. 12 of the Massachusetts

Declaration of Rights to cross-examine the prosecution’s

witnesses, “the judge has discretion to limit cross-examination

in certain circumstances, including, as here, where such

questioning includes a collateral matter and where the theory of

defense is too speculative.”     Id. at *3.    The court noted that

Yildirim’s trial counsel “was permitted to ask the witness about

Ring’s role in the investigation,” but that the judge did not

abuse his discretion by preventing inquiry to Ring’s prior

criminal history.   Id.

     As to the second issue of the attorney’s gestures, the

court discussed how under Massachusetts state law, “[w]hen a

judge is presented with a claim that the jury has been exposed

to an extraneous influence, he must determine whether the

extraneous material has the potential to prejudice the jury and,

if so, he must conduct a voir dire examination of the jurors.”

Yildirim, 2015 WL 7356554, at *2 (citing Commonwealth v.

Tennison, 800 N.E.2d 285, 291 (Mass. 2003)).       The court found

there was no evidence on the record indicating that any of the

jurors saw the attorney’s gestures.      Id.   Because there was no

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evidence from which to find that the jury was exposed to

extraneous influence, the court found that the trial judge was

not required under Massachusetts law to take further action.

Id.

      Finally, the court found Yildirim had failed to show that

his trial counsel was ineffective for failing to request an

investigation into the potential effect on the jury of the

attorney’s gestures.    Yildirim, 2015 WL 7356554, at *2.        Even if

it assumed “that a reasonable attorney would have requested an

inquiry into the circumstances,” the court concluded “the record

does not support the conclusion that an inquiry would have

uncovered any extraneous influence on the jury.”         Id.

      On January 27, 2016, the Supreme Judicial Court declined to

conduct further review.     Commonwealth v. Yildirim, 44 N.E.3d 862

(Mass. 2016).   Yildirim did not seek a writ of certiorari from

the United States Supreme Court.        Instead, he filed the instant

petition.

                        II. STANDARD OF REVIEW

      Under the Antiterrorism and Effective Death Penalty Act of

1996 (“AEDPA”), I may not grant a writ of habeas corpus to “any

claim that was adjudicated on the merits in state court unless

the state court’s decision either (1) ‘was contrary to, or

involved an unreasonable application of, clearly established

Federal law, as determined by the Supreme Court of the United

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States,’ or (2) ‘was based on an unreasonable determination of

the facts in light of the evidence presented in the State court

proceeding.’”   Brown v. Ruane, 630 F.3d 62, 66-67 (1st Cir.

2011) (quoting 28 U.S.C. ' 2254(d)(1)-(2)).

     A state court’s decision is “contrary to” clearly

established federal law “if it ‘contradicts the governing law

set forth in the Supreme Court’s cases or confronts a set of

facts that are materially indistinguishable from a decision of

the Supreme Court and nevertheless arrives at a result different

from its precedent.’”    Id. at 67 (quoting John v. Russo, 561

F.3d 88, 96 (1st Cir. 2009)).     A state court’s decision can

involve “an unreasonable application of clearly established

federal law if the state court ‘identifies the correct governing

legal principle from [the Supreme] Court’s decisions but

unreasonably applies that principle to the facts of the

prisoner’s case.’”    Id. (quoting Williams v. Taylor, 529 U.S.

362, 413 (2000)).

                            III. ANALYSIS

A.   Restrictions on Cross-Examination About David Ring

     In arguing that the trial judge’s restrictions on cross-

examination denied him the federal constitutional right to

present his defense effectively, Petitioner suggests his theory

of defense was that Ring had set him up to avoid his own

prosecution on criminal charges.

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              The Constitution grants a criminal defendant the right to

have “a meaningful opportunity to present a complete defense.”

Holmes v. South Carolina, 547 U.S. 319, 324 (2006).4                                    Balanced

against this right is the “broad latitude” enjoyed by states

“to establish rules excluding evidence from criminal trials.”

United States v. Scheffer, 523 U.S. 303, 308 (1998).                                    “While the

Constitution thus prohibits the exclusion of defense evidence

under rules that serve no legitimate purpose or that are

disproportionate to the ends that they are asserted to promote,

well-established rules of evidence permit a trial judge to

exclude evidence if its probative value is outweighed by certain

other factors such as unfair prejudice, confusion of the issues,

or potential to mislead the jury.”                                   Holmes, 547 U.S. at 326.

              The general right to present a defense is not easily

reduced to specific rules or tests.                                  Rather, “decisions

involving a defendant’s constitutional right to present a

defense demonstrate the generality of the right and the

substantial element of judgment required of trial courts in

excluding defense evidence.”                                   Brown, 630 F.3d at 72.   In the

habeas context, “[t]he more general the rule, the more leeway


                                                            
4
 The Supreme Court has not resolved whether this right lies in
the Due Process Clause of the Fourteenth Amendment, in the
Compulsory Process or Confrontation Clauses of the Sixth
Amendment, or emerges from the interplay of these provisions.
Crane v. Kentucky, 476 U.S. 683, 690 (1986); see also Brown, 630
F.3d at 71 n.12.  
                                                                11
 
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[state] courts have in reaching outcomes in case-by-case

determinations.”   Yarborough v. Alvarado, 541 U.S. 652, 664

(2004).   I must accordingly afford the Appeals Court’s decision

“substantial deference” and may only upset its determination if

I “conclude that it falls outside of the ‘broader range of

reasonable judgements’ [sic] that accompanies the application of

so general a legal test.” Brown, 630 F.3d at 73 (quoting Locke

v. Cattell, 476 F.3d 46, 51 (1st Cir. 2007)).

     As an initial matter, and as the Appeals Court correctly

noted, the trial judge did not exclude all inquiry into Ring’s

involvement in the case.    Yildirim was permitted to cross-

examine the government’s witnesses about their personal

knowledge of Ring and his involvement in Yildirim’s case.          He

elicited testimony from the government’s witnesses on these

issues, including Trooper Crowley’s statement that she knew Ring

in her professional capacity as an undercover detective, Trooper

Cooper’s statement that Ring provided the state police with

Yildirim’s phone number and introduced Trooper Crowley to

Yildirim, and Trooper Holland’s description of Ring as “a rat.”

Such testimony presented the jury with Ring’s involvement in the

case, provided some support for Yildirim’s theory of defense,

and would have laid a foundation for the testimony that defense

counsel anticipated Yildirim would offer regarding his

relationship with Ring.

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     I cannot say that the Appeals Court’s decision to affirm

the limits placed on questions about Ring was unreasonable.            The

questions excluded at trial focused on Ring’s own criminal

history and involvement with the State Police in cases beyond

the petitioner’s.   For example, Yildirim’s counsel asked Trooper

Crowley about whether Ring was involved in the sale of marijuana

and whether Ring was still providing information to the state

police.   The Appeals Court did not act unreasonably when it

found such questions addressed a collateral matter beyond the

scope of the petitioner’s trial.        Such questions had the

potential to confuse the jury by bringing in investigations and

events irrelevant to the charges against the petitioner and it

would not be unreasonable to find that the inquiries were only

obliquely probative of Yildirim’s defense theory.        Holmes, 547

U.S. at 326.

     Nor was it unreasonable to find, as the Appeals Court did,

that the defense theory was “too speculative” and unsupported by

the record.    Yildirim, 2015 WL 7356554, at *3.      After the

Commonwealth objected to any questions about Ring, defense

counsel explained the testimony he anticipated Yildirim would

provide regarding his relationship with Ring.        The Appeals Court

did not act unreasonably in finding that Yildirim’s testimony

may have supported a limited inquiry into Ring’s involvement,

but that further attempts to show that the cocaine belonged to

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Ring, particularly through inquiries into Ring’s own alleged

criminal history, were unsupported by the record.                                            Holmes, 547

U.S. at 327 (“[E]vidence proffered by criminal defendants to

show that someone else committed the crime . . . may be excluded

where it does not sufficiently connect the other person to the

crime, as, for example, where the evidence is speculative or

remote . . . .”).

              In his petition, Yildirim does not invoke directly the

Sixth Amendment’s Confrontation Clause.5                                           His failure to invoke

this ground explicitly in his petition may itself be sufficient

to find that he has waived the issue as grounds for relief.

Logan v. Gelb, 790 F.3d 65, 70 (1st. Cir. 2015) [per curiam].

For the sake of completeness, however, I will also address his

arguments regarding the restrictions on cross-examination

through the lens of the Confrontation Clause.

              The Confrontation Clause guarantees the right of an accused

in a criminal prosecution “to be confronted with the witnesses

against him.”                               U.S. Const. Amend. VI.              “The main and essential

purpose of confrontation is to secure for the opponent the

opportunity of cross-examination.”                                            Davis v. Alaska, 415 U.S.

308, 315-16 (1974).                                            The Confrontation Clause does not, however,


                                                            
5 Yildirim touched upon the Confrontation Clause briefly in his
appeal to the Appeals Court and the Appeals Court framed its
analysis of the restrictions on cross-examination in part
through the Sixth Amendment. Yildirim, 2015 WL 7356554, at *3.
                                                                         14
 
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prevent a trial judge from placing “reasonable limits” on cross-

examination “based on concerns about, among other things,

harassment, prejudice, confusion of the issues, the witness’

safety, or interrogation that is repetitive or only marginally

relevant.”     Delaware v. Van Arsdall, 475 U.S. 673, 679 (1986).

     Whether analyzed through the right to present a defense or

through the Confrontation Clause, the Appeals Court’s decision

regarding the cross-examination about Ring was neither contrary

to nor an unreasonable application of clearly established

federal law.    As discussed above, the trial judge did permit

some cross-examination of the Commonwealth’s witnesses regarding

Ring’s involvement in the case.      The Appeals Court could

reasonably conclude that the limits placed on inquiry into

Ring’s criminal history and involvement in other cases were the

sort of “reasonable limits” based on concerns about confusion of

the issues and relevancy that a trial judge may place on cross-

examination without offending the petitioner’s Confrontation

Clause rights.     Van Arsdall, 475 U.S. at 679.

     For the reasons discussed above, the limits on cross-

examination enforced by the trial judge and affirmed by the

Appeals Court do not provide grounds upon which I can grant

habeas relief.




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B.   Trial Judge’s Failure to Determine Whether Jury Exposed to
     Extraneous Influence

     Petitioner next argues that the trial judge failed to

determine whether the jury was exposed to an extraneous

influence.   Petitioner asserts that the Commonwealth’s failure

to prove that the attorney’s gestures did not contribute to the

guilty verdict requires his conviction be reversed.

     The Sixth Amendment guarantees in criminal prosecutions the

right to a trial “by an impartial jury.”       U.S. Const. Amend. VI.

“Principles of due process also guarantee a defendant an

impartial jury.”    Ristaino v. Ross, 424 U.S. 589, 595 n.6 (1976)

(citing Irvin v. Dowd, 366 U.S. 717, 722 (1961); see also Morgan

v. Illinois, 504 U.S. 719, 726 (1992) [White, J.] (“[T]he

Fourteenth Amendment’s Due Process Clause itself independently

require[s] the impartiality of any jury empaneled to try a

cause.”).    Although “[i]mpartiality is not a technical

conception,” United States v. Wood, 299 U.S. 123, 145 (1936), an

impartial jury is generally understood as one free from biases

and free from improper extraneous influences.        Remmer v. United

States, 347 U.S. 227, 229 (1954) [Minton, J.]. See generally

Pena-Rodriguez v. Colorado, 137 S. Ct. 855, 861 (2017) (“Like

all human institutions, the jury system has its flaws, yet

experience shows that fair and impartial verdicts can be reached

if the jury follows the court’s instructions and undertakes


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deliberations that are honest, candid, robust, and based on

common sense.”).

       At the same time, “due process does not require a new trial

every time a juror has been placed in a potentially compromising

situation.”    Smith v. Phillips, 455 U.S. 209, 217 (1982).

Because “it is virtually impossible to shield jurors from every

contact or influence,” the Constitution requires simply “a jury

capable and willing to decide the case solely on the evidence

before it, and a trial judge ever watchful to prevent

prejudicial occurrences and to determine the effect of such

occurrences when they happen.”       Id.

       It bears repeating that when notified about the attorney’s

gestures during Trooper Crowley’s testimony, Yildirim’s counsel

chose not to object, request an inquiry into the potential

effect on the jurors, move for a mistrial, or make any other

effort to rectify or preserve the issue.         The Appeals Court’s

decision noted the trial judge’s duty to inquire of the jury

“[w]hen a judge is presented with a claim that the jury has been

exposed to an extraneous influence” under Massachusetts state

law.    Yildirim, 2015 WL 7356554, at *2.       The record contains no

evidence indicating that any jurors had observed the attorney’s

gestures and therefore no evidence that they had been exposed to

an extraneous influence.      The Appeals Court, of course,

concluded that the lack of information in the record as to

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whether any juror witnessed the gestures was due at least in

part to the failure of Yildirim’s counsel to seek any relief

from the trial judge.                                          Id.   I will turn to the significance of

that failure in the next section of this Memorandum.

              The sole question for me to resolve as to this ground is

whether clearly established federal law required the trial judge

to hold a hearing, sua sponte, in order to determine if the jury

had been exposed to any extraneous influence.                                           I conclude it did

not.             In Sims v. Rowland, the Ninth Circuit considered a habeas

corpus petition similarly alleging that “the state court’s

failure to hold an evidentiary hearing sua sponte when presented

with evidence of juror bias is contrary to, or an unreasonable

application of, clearly established federal law as determined by

the United States Supreme Court.”                                            414 F.3d 1148, 1153 (9th Cir.

2005).                 The Ninth Circuit held that it was not because “the

Supreme Court has not yet decided whether due process requires a

trial court to hold a hearing sua sponte whenever evidence of

juror bias comes to light.”                                           Id.6

              To be sure, under both First Circuit and Supreme Court

precedent, a judge has certain duties, when presented with a

motion or other request by the parties, to hold hearings in

order to determine whether a jury has been biased by an


                                                            
6
 In the years since the Ninth Circuit’s observation in Rowland,
the Supreme Court still has not decided this issue.    

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extraneous influence.    Smith, 455 U.S. at 215 (“This Court has

long held that the remedy for allegations of juror partiality is

a hearing in which the defendant has the opportunity to prove

actual bias.); United States v. Gaston-Brito, 64 F.3d 11, 12

(1st Cir. 1995) (“‘When a nonfrivolous suggestion is made that a

jury may be biased or tainted by some incident, the district

court must undertake an adequate inquiry to determine whether

the alleged incident occurred and if so, whether it was

prejudicial.’”) (quoting United States v. Ortiz-Arrigoitia, 996

F.2d 436, 442 (1st Cir. 1993)).      However, as of now, there is

simply no Supreme Court precedent clearly establishing that a

trial judge must hold a hearing, sua sponte, in order to

determine if the jury had been exposed to any extraneous

influence.

C.   Defense Counsel’s Failure to Object and Move for Mistrial
     Due to Possible Extraneous Influence on Jury

     Finally, petitioner argues that his trial counsel was

ineffective and deprived him of an available defense by failing

to seek any remedy after being made aware of the attorney’s

gestures during Trooper Crowley’s testimony.

     The Sixth Amendment’s right to counsel in a criminal

proceeding “‘is the right to the effective assistance of

counsel.’” Strickland v. Washington, 466 U.S. 668, 686 (1984)

(quoting McMann v. Richardson, 397 U.S. 759, 771 n.14 (1970)).


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Under the test for evaluating ineffective assistance of counsel

claims formulated in Strickland, a defendant must first show

that “counsel’s representation fell below an objective standard

of reasonableness” and second demonstrate “a reasonable

probability that, but for counsel’s unprofessional errors, the

result of the proceeding would have been different.”         Id. at

688, 694.

     Under the prejudice step, “the question is not whether a

court can be certain counsel’s performance had no effect on the

outcome or whether it is possible a reasonable doubt might have

been established if counsel acted differently.”        Harrington v.

Richter, 562 U.S. 86, 111 (2011).       Rather, “[t]he likelihood of

a different result must be substantial, not just conceivable.”

Id. at 112.   When an ineffective assistance of counsel claim is

raised in a habeas petition, ' 2254(d) imposes a further burden.

The inquiry then “is not whether counsel’s actions were

reasonable,” but rather “is whether there is any reasonable

argument that counsel satisfied Strickland’s deferential

standard.”    Id. at 105.

     The Appeals Court assumed, without deciding, that “a

reasonable attorney would have requested an inquiry into the

circumstances,” but still found that “the record does not

support the conclusion that an inquiry would have uncovered any

extraneous influence on the jury.”       Yildirim, 2015 WL 7356554,

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at *2.7                  The Appeals Court therefore held that “without the

benefit of additional information, we cannot determine whether

trial counsel was ineffective as alleged.”                                   Id.

              It was not unreasonable for the Appeals Court to find that

petitioner had failed to prove his ineffective assistance of

counsel claim.                                 Assuming without deciding, as the Appeals Court

did, that a reasonable attorney would have sought some form of

relief when presented with a potential extraneous influence on

the jury, petitioner has not shown that the likelihood of a

different result was substantial.                                   Harrington, 562 U.S. at 112.

At worst, it could be said that Trooper Crowley was being

prompted to respond in a certain way to questions about Ring; it

is unclear what effect witnessing such encouragement would have

on the credence given by jurors to the statements made by

Trooper Crowley, if they had seen them.                                  Visible prompting by

others, in fact, might diminish the credibility of the witness’s

testimony.

              Even under the best case scenario for the Petitioner

regarding this incident, the other evidence presented by the

Commonwealth overwhelms any likelihood of a different result to


                                                            
7 The Appeals Court did not cite directly to the two-part
Strickland inquiry, but cited instead to the framework outlined
in Commonwealth v. Saferian, 315 N.E.2d 878, 882-83 (Mass.
1974). The First Circuit has held that “for habeas purposes,
Saferian is a functional equivalent of Strickland.” Ouber v.
Guarino, 293 F.3d 19, 32 (1st Cir. 2002).
                                                               21
 
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the trial.   In addition to the evidence of repeated hand to hand

transactions, the Commonwealth introduced uncontroverted

physical evidence placing cocaine in Yildirim’s apartment, as

well as Yildirim’s own recorded statement in which he took

responsibility for all four of the drug transactions.         In light

of such evidence, it was not unreasonable for the Appeals Court

to find that Petitioner failed to establish an ineffective

assistance of counsel claim under the second — prejudice — prong

of Strickland.

     Petitioner also appears to argue that defense counsel was

ineffective because he failed to object and move for a mistrial

after the trial judge failed to hold a hearing, sua sponte, on

the possible extraneous influence of the attorney’s gestures on

the jury.    Because I have found that the judge had no sua sponte

duty to convene a hearing, I likewise find that defense counsel

was not obligated to object or move for a mistrial based on the

judge’s failure to do so.     Toliver v. Hulick, 295 Fed. App’x 55,

58 (7th Cir. 2008) [per curiam] (trial judge did not have a duty

to question the jurors individually after jurors were exposed to

improper communication and “since there was no constitutional

error on the part of the trial judge, counsel did not perform

ineffectively by holding his tongue”).

                            IV.   CONCLUSION

     For the reasons discussed above, I grant respondent’s

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motion for judgment on the pleadings and deny the petition for a

writ of habeas corpus.




                                 /s/ Douglas P. Woodlock________
                                 DOUGLAS P. WOODLOCK
                                 UNITED STATES DISTRICT JUDGE




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